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 7
                         IN THE UNITED STATES DISTRICT COURT FOR THE
 8
                                EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,                       )       No. 2:06-CR-441 GEB
                                                     )
11
                                                     )       STIPULATION REGARDING
            Plaintiff,                               )       EXCLUDABLE TIME PERIODS UNDER
12
                                                     )       SPEEDY TRIAL ACT; [PROPOSED]
     v.                                              )       FINDINGS AND ORDER
13
                                                     )
     VIRGILIO PINEDA                                 )
14
                                                     )
                                                     )
15
                                                     )
            Defendant.                               )
16
                                                     )
                                                     )
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18

19                                       STIPULATION
            Plaintiff United States of America, by and through its counsel of record, and the
20

21   defendant, by and through his counsel of record, hereby stipulate as follows:

22          1.      By previous order, this matter was set for status on December 7, 2012.
23
            2.      By this stipulation, the defendants now move to continue the status conference
24
     until January 25, 2013, at 9:00 a.m., and to exclude time between December 7, 2012, and
25
     January 25, 2013, under Local Code T4. Plaintiff does not oppose this request.
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27          3.      The parties agree and stipulate, and request that the Court find the following:

28          a.      The government has represented that the discovery associated with this case


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     includes approximately 273 pages of investigative reports, audio recordings, and photos. All of
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 2   this discovery has been either produced directly to counsel and/or made available for inspection

 3   and copying.
 4
            b.       Counsel for the defendant desires additional time to consult with his client, to
 5
     review the current charges, to conduct investigation and research related to the charges, to review
 6

 7
     and copy discovery for this matter, to discuss potential resolutions with his client, to prepare

 8   pretrial motions, and to otherwise prepare for trial. Additionally, at the request of the defense,
 9   the Probation Department has completed a Pre-Plea report. The parties are working to see if this
10
     case may resolve by plea agreement and need additional time.
11
            c.       Counsel for the defendant believes that failure to grant the above-requested
12

13   continuance would deny him the reasonable time necessary for effective preparation, taking into

14   account the exercise of due diligence.
15
            d.       The government does not object to the continuance.
16
            e.       Based on the above-stated findings, the ends of justice served by continuing the
17
     case as requested outweigh the interest of the public and the defendants in a trial within the
18

19   original date prescribed by the Speedy Trial Act.

20          f.       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,
21
     et seq., within which trial must commence, the time period of December 7, 2012, to January 25,
22
     2013, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code
23
     T4] because it results from a continuance granted by the Court at defendant’s request on the basis
24

25   of the Court's finding that the ends of justice served by taking such action outweigh the best

26   interest of the public and the defendants in a speedy trial.
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                     4.     Nothing in this stipulation and order shall preclude a finding that other
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                                                       2
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     provisions of the Speedy Trial Act dictate that additional time periods are excludable from the
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 2   period within which a trial must commence.

 3

 4
     IT IS SO STIPULATED.
 5
     Dated: December 5, 2012                                             BENJAMIN WAGNER
 6                                                                       U.S. ATTORNEY
 7
                                                                 by:     /s/ David D. Fischer for
 8                                                                       JILL THOMAS
                                                                         Assistant U.S. Attorney
 9                                                                       Attorney for Plaintiff
10

11   Dated: December 5, 2012                                             /s/ David D. Fischer
                                                                         DAVID D. FISCHER
12
                                                                         Attorney for Defendant
13                                                                       VIRGILIO PINEDA

14

15                                                     ORDER
16

17

18   IT IS SO FOUND AND ORDERED.
19   Date:                 12/5/2012

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                                                    ___________________________________
21                                                  GARLAND E. BURRELL, JR.
                                                    Senior United States District Judge
22

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     DEAC_Signature-END:




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